     Case 1:23-cr-00347-JGK         Document 136-19         Filed 04/17/25     Page 1 of 1




February 6, 2025

Dear Judge Koeltl,


I am writing to you on behalf of my stepfather, Alex Mashinsky, who has been a vital presence
in my life since I was three years old. He has been more than a stepfather—he has been a
guiding force, offering me unconditional love, support, and stability throughout my childhood and
into adulthood. His influence has shaped the person I am today.


One of my earliest memories of Alex is him sitting me down and saying, “Put yourself in
somebody else’s shoes.” He asked if I understood what that meant and then explained the
importance of empathy, selflessness, and kindness. That lesson has stayed with me throughout
my life, and I learned how to embody it by watching him. Alex leads by example, always striving
to help others in meaningful ways.


I have witnessed firsthand the ways in which he has dedicated himself to improving people’s
lives. Whether it was through his innovations—like inventing wireless technology so people
could stay connected while traveling underground—or through his everyday actions, he has
always sought to ease burdens and create opportunities for others. Over the past year, I have
watched him work tirelessly in the field of science, returning to what he knows and loves best.
His passion for education and his desire to help others tap into their creativity remain
unwavering. I am incredibly grateful to witness that drive every day.


I also saw firsthand the devastation he felt for everyone affected by Celsius. I know, with
absolute certainty, that he would never maliciously cause harm. He is a man who cares deeply
about the people around him and about making the world a better place. I can attest to this
since I have lived under the same roof as him for the last seventeen years.


I respectfully ask that you consider the impact Alex has had on my life and the lives of so many
others. His character is one of integrity and compassion, and I hope that is considered when
making your decision.


Sincerely
Makenzie Moen




                                                                                       Ex. A-18
